Case: 1:07-cv-04862 Document #: 1 Filed: 08/28/07 Page 1 of 6 PagelD #:1 AE

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CLERK, U.S.
EASTERN DIVISION K, U.8. DISTRICT COURT

Thomas Gene, Vednun Wh

 

 

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ofthe plant. or plaints in J J D G E KENN E LLY
this action) | MAG. J U DGE VALDEZ
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(To be supplied by the Clerk of this Court)
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Racche Did A. Sens

 

 

(Enter above the full name of ALL
defendants in this action. Do not

use "et al.")

CHECK ONE ONLY:

x ‘COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983 ©
U.S, Code (state, county, or ‘municipal defendants)

COMPLAINT UNDER THE CONSTITUTION ("BIVENS" ACT ION), TITLE
28 SECTION 1331 U.S. Code (federal defendants)

OTHER (cite statute, if known)

 

 

FILING. " FOLLOW THESE INS TRUCTIONS CAREF ULLY.
Case: 1:07-cv-04862 Document #: 1 Filed: 08/28/07 Page 2 of 6 PagelD #:2

IL Plaintiff(s):

A. Name: “Thames Gene sedi OX

Date of Birth: “AL -29~ AGS

 

List all aliases:

 

Prison Thocgk Cova tH
Prisoner identification n number: “RS ¢ / £94529
mea NOTE NOVE > & Gon Bf OS OF DET cok EEE SAL)
Place of present confinement: (STG NUDDY RIVER Copeckton|\ one Ceres

F. Address: _Ren Sex YOO. ANA TL b264b CVG eae Lederer pi
(If there is more than one plaintiff, then each plaintiff must list his or her name, date of birth,

aliases, I.D. number, place of confinement, and current address according to the above format
on a separate sheet of paper.)

mop a o

Ul. Defendant(s):
(In A below, place the full name of the first defendant in the first blank, his or her official
position in the second blank, and his or her place of employment in the third blank. Space
for two additional defendants is provided in B and C.)

A. Defendant: Roger E lSo\Wer Je:
Title: Dceskex ok Diineis Denaskment ch Coren kions
Place of Employment: Dpriogiedd Winss

B. Defendant: Roy Readfocd
Title: USARDEN of TG ModNU RIVER Correckenn\ Cenler

“BIGMudW BVER CoRkecrTan \ Con ER,
Place of Employment: Re 523 / Lo ex Od, ANS, “Minos, b2 SY

 

CL Defendant:

| Tite Whores Deputmen! of Convection:
Place of Employment: Chicas, O ZL S pringte.l Winat S

(if you have more than three defendants, then all additional defendants must be listed

 

 

Revised 5/2007
Case: 1:07-cv-04862 Document #: 1 Filed: 08/28/07 Page 3 of 6 PagelD #:3

I. List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
court in the United States:

A. Name of case and docket number:

 

 

B. Approximate date of filing lawsuit:

 

C. List all plaintiffs (if you had co-plaintiffs), including any aliases:

 

 

 

D. List all defendants:

 

 

 

 

E, Court in which the lawsuit was filed (if federal court, name the district; if state court,
name the county): __

 

 

 

 

 

 

 

 

 

F.. Name of judge to whom case was assigned:

G. Basic claim made:

H. Disposition of this case (for example: Was the case dismissed? Was it appealed?
Is it still pending?):

L Approximate date of disposition:

 

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
“ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,

YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,

AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-

PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILLED.

 

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Iv. Statement of Claim:

State here as briefly as possible the facts of your case. Describe how each defendant is
involved, including names, dates, and places. Do not give any legal arguments or cite any

.-£ases or Statutes. Lf you intend to allege a number of related claims, number.and set forth
each claim in a separate paragraph. (Use-as much space as you need. Attach extra sheets if
necessary.)

 

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Vv. Relief:

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
no cases or statutes.

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VL‘ The plaintiff demands that the case be tried by a jury. i YES C] NO

CERTIFICATION

By signing this Complaint, I certify that the facts stated in this
Complaint are true to the best of my knowledge, information and
belief. 1] understand that if this certification is not correct, I may be
subject to sanctions by the Court.

Signed this | 16 ts day of < , 20 Oo}

 

(Signature of plaintiff or plaintiffs) ©

Thomas Sane. KeAchom WO

(Print name)

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(ID. Number)
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Revised 5/2007
